Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 1 of 28 Pageid#: 1859




                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF VIRGINIA
                                      ROANOKE DIVISION


  BAE SYSTEMS ORDNANCE
   SYSTEMS, INC.,

                               Plaintiff/Counterclaim-
                               Defendant,

       v.                                                Case No. 7:20-cv-587

  FLUOR FEDERAL SOLUTIONS, LLC,

                               Defendant/Counterclaim-
                               Plaintiff.

 BAE SYSTEMS ORDNANCE SYSTEMS, INC.’S OBJECTIONS TO FLUOR FEDERAL
       SOLUTIONS, LLC’S FIRST SET OF REQUESTS FOR PRODUCTION

         Pursuant to Federal Rules of Civil Procedure 26 and 34, BAE Systems Ordnance Systems,

Inc. (“BAE”), through its undersigned counsel, hereby provides the following Objections to Fluor

Federal Solutions, LLC’s (“Fluor”) First Set of Requests for Production of Documents.

                                         PRELIMINARY STATEMENT

         BAE and Fluor have each filed motions to dismiss. (ECF 38, 30.) BAE also filed a motion

to strike. (ECF 36.) The briefing on all three motions has been completed and all are scheduled

for hearing in January 2022. BAE will be filing Motions to Stay and to Bifurcate discovery. For

the reasons which will be stated in support of BAE’s forthcoming Motions to Stay and to Bifurcate,

BAE objects to all discovery in this action until the Motions to Dismiss, Motion to Strike, and

Motions to Stay and to Bifurcate are ruled upon by the Court.

         No objection made herein is an admission by BAE as to the existence or non-existence of

any information.



                                                                                             EXHIBIT
{2896204-1, 115568-00010-01}
                                                                                                     E
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 2 of 28 Pageid#: 1860




                                      GENERAL OBJECTIONS

         1.        BAE makes and incorporates the following General Objections in response to

each and every Request, whether or not specifically stated in response thereto. Any specific

objections provided below are made in addition to these General Objections, and the failure to

reiterate a General Objection below does not constitute a waiver of that or any other objection.

         2.        BAE objects to Fluor’s definitions and instructions to the extent they impose, or

purport to impose, any obligations on BAE beyond those required by the Federal Rules of Civil

Procedure.

         3.        BAE objects to Fluor’s definitions to the extent they are based on a false premise

and/or inaccurately characterize facts and/or issues in dispute.

         4.        BAE objects to Fluor’s Requests to the extent that they call for information that is

subject to one or more privileges, including, but not limited to, the attorney-client privilege, or any

information which constitutes or reflects work product.

         5.        BAE objects to Fluor’s Requests to the extent that they are overbroad in time and

scope and/or seek information that is not reasonably calculated to lead to the production of

admissible evidence and/or they seek information that is not relevant to the claim or defense of

any party.

         6.        BAE objects to Fluor’s Requests to the extent that they are vague and/or

ambiguous.

         7.        BAE objects to Fluor’s Requests to the extent that they seek information that is not

within BAE OSI’s possession, custody and/or control.

         8.        BAE objects to Fluor’s Requests to the extent they seek information equally

accessible to Fluor.




{2896204-1, 115568-00010-01}                        2
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 3 of 28 Pageid#: 1861




          9.       BAE objects to Fluor’s Requests to the extent they seek information containing

non-public, confidential and/or proprietary information prior to the entry of an appropriate

Protective Order.

                      SPECIFIC OBJECTIONS TO REQUESTS FOR PRODUCTION

          Subject to the foregoing General Objections, BAE provides the following Specific

Objections to Fluor’s Requests for Production:

          1.       All documents, communications, and correspondence, supporting, refuting,

addressing, concerning, referring to, or relating, in any way, to the averments in BAE’s pleadings,

as the term “pleadings” is defined in FRCP 7(a).

          OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

      BAE objects to this request to the extent that it is overly broad, unduly burdensome,
and not proportional to the needs of the case.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

      BAE objects to this request to the extent it seeks to invade the attorney-client and/or
work product privileges.

          2.       All documents, communications, and correspondence, reviewed, referenced,

considered, adopted, or rejected to prepare your answers to any discovery requests served in this

Action.

          OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

      BAE objects to this request on the grounds that it seeks to invade the attorney-client
and work product privileges.




{2896204-1, 115568-00010-01}                      3
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 4 of 28 Pageid#: 1862




         3.        All documents, communications, correspondence, analyses, records, and data that

BAE intends to introduce into evidence at trial or at any other hearing in this Action.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request on the grounds that it is premature and to the extent it
seeks to impose disclosure obligations beyond those imposed by the Court’s Scheduling
Order and/or Federal Rules of Civil Procedure.

      BAE objects to this request to the extent that it seeks to invade the attorney-client and
work product privileges.

         4.        All documents, communications, correspondence, analyses, records, and data

prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

or relating, in any way, to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s)

with Lauren, the Subcontract, the Project, this Action or its subject matter.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is facially overly broad, unduly
burdensome, and not proportional to the needs of the case. This request, for example, is
vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
because it seeks discovery of years of information and every communication between BAE
and the Army relating to all aspects of performance by a prior contractor, Lauren, before
Fluor was ever involved in the Project.

       BAE further objects to this request on the grounds that it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of admissible evidence.

         5.        All documents, communications, correspondence, analyses, records, and data

prepared by, exchanged by and between, or involving BAE and Lauren that concern, refer, or

relate, in any way, to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with


{2896204-1, 115568-00010-01}                      4
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 5 of 28 Pageid#: 1863




Lauren (and its negotiation, performance, or termination), the Subcontract, the Project, this Action

or its subject matter.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is facially overly broad, unduly
burdensome, and not proportional to the needs of the case. This request, for example, is
vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
because it seeks discovery of years of information and every communication between BAE
and Lauren relating to all aspects of performance by a prior contractor, Lauren, before
Fluor was ever involved in the Project.

       BAE further objects to this request on the grounds that it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of admissible evidence.

         6.        All statements (as that term is used in FRCP 26(b)(3)(C)) which were previously

made by you concerning, referring to, or relating, in any way, to the Prime Contract, Lauren, the

Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation, performance or

termination), the Subcontract, the Project, this Action or its subject matter.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is facially overly broad, unduly
burdensome, and not proportional to the needs of the case. This request, for example, is
vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
because it seeks discovery of years of information and communication relating to all aspects
of performance by a prior contractor, Lauren, before Fluor was ever involved in the Project.

       BAE further objects to this request on the grounds that it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of admissible evidence.


{2896204-1, 115568-00010-01}                      5
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 6 of 28 Pageid#: 1864




         7.        A complete copy of the Prime Contract between BAE and the Army including,

without limitation, all task orders, delivery orders, general, special, and supplemental conditions,

exhibits, attachments, schedules, modifications, change orders, and other documents incorporated

or referenced therein.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request on the grounds that it seeks information that is irrelevant
and not reasonably calculated to lead to the discovery of admissible evidence, and on the
grounds that it is overly broad, unduly burdensome, and not proportional to the needs of the
case because it seeks information that predates Fluor’s involvement in the Project and is not
reasonably tailored to the claims and defenses.

         8.        A complete copy of the subcontract(s) between BAE and Lauren including, without

limitation, general, special, and supplemental conditions, exhibits, attachments, schedules,

modifications, change orders, and other documents incorporated or referenced therein.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks Lauren-specific contract documents,
schedules, modifications, change orders or other documents relating to Lauren or Lauren’s
performance before Fluor was ever involved in the Project on the grounds that it is overly
broad, unduly burdensome, not proportional to the needs of the case, irrelevant and not
reasonably calculated to lead to the discovery of admissible evidence.

         9.        All documents, communications, correspondence, analyses, records, and data

maintained by your employees concerning, referring to, or relating, in any way, to the Prime

Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation,

performance, or termination), the Subcontract, or the Project, including, without limitation, any

notes, notes of telephone conferences or meetings, field notes, diaries, journals, and calendars,

whether handwritten or otherwise.


{2896204-1, 115568-00010-01}                      6
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 7 of 28 Pageid#: 1865




         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is facially overly broad, unduly
burdensome, and not proportional to the needs of the case. This request, for example, is
vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
because it seeks discovery of years of information and communication relating to all aspects
of performance by a prior contractor, Lauren, before Fluor was ever involved in the Project.

      BAE objects to this request to the extent that it seeks to invade the attorney-client and
work product privileges.

         10.       All documents, communications, correspondence, analyses, records, and data

summarizing, memorializing, reporting, referring to, or relating, in any way, to any internal BAE

oral communications, including, without limitation, meetings, conferences, and phone calls

pertaining to the Prime Contract, Lauren, the Lauren Design, the Subcontract, or the Project.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is facially overly broad, unduly
burdensome, and not proportional to the needs of the case. This request, for example, is
vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
because it seeks discovery of years of information and communication relating to all aspects
of performance by a prior contractor, Lauren, before Fluor was ever involved in the Project.

      BAE objects to this request to the extent that it seeks to invade the attorney-client and
work product privileges.

         11.       All documents, communications, correspondence, analyses, records, and data

summarizing, memorializing, reporting, concerning, referring to, or relating, in any way, to any



{2896204-1, 115568-00010-01}                    7
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 8 of 28 Pageid#: 1866




oral communications, including, without limitation, meetings, conferences, and phone calls

prepared by, exchanged by and between, or involving BAE and Fluor pertaining to the Prime

Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation,

performance, or termination), the Subcontract, or the Project.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request to the extent it seeks information equally available to
Fluor and/or already in Fluor’s possession, custody or control.

      BAE objects to this request to the extent that it seeks to invade the attorney-client and
work product privileges.

         12.       All documents, communications, correspondence, analyses, records, and data

summarizing, memorializing, reporting, referring to, or relating, in any way, to any oral

communications, including, without limitation, meetings, conferences, and phone calls between or

involving BAE and the Army pertaining to the Prime Contract, Lauren, the Lauren Design, the

Subcontract, or the Project.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is facially overly broad, unduly
burdensome, and not proportional to the needs of the case. This request, for example, is
vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
because it seeks discovery of years of information and every communication between or
involving BAE and the Army that relates to all aspects of performance by a prior contractor,
Lauren, before Fluor was ever involved in the Project.

{2896204-1, 115568-00010-01}                    8
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 9 of 28 Pageid#: 1867




       BAE further objects to this request on the grounds that it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of admissible evidence.

      BAE objects to this request to the extent that it seeks to invade the attorney-client and
work product privileges.

         13.       All documents, communications, correspondence, analyses, records, and data

summarizing, memorializing, reporting, referring to, or relating, in any way, to any oral

communications, including, without limitation, meetings, conferences, and phone calls between or

involving BAE and its subcontractors including, without limitation, Lauren, related to the Prime

Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation,

performance, or termination), the Subcontract, or the Project.

         OBJECTION:

        BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

       BAE objects to this request to the extent it seeks to exceed the terms and scope of the
parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is facially overly broad, unduly
burdensome, and not proportional to the needs of the case. This request, for example, is
vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
because it seeks discovery of years of information and communication relating to all aspects
of performance by a prior contractor, Lauren, and/or Lauren’s subcontractors before Fluor
was ever involved in the Project.

       BAE further objects to this request on the grounds that it seeks information that is
irrelevant and not reasonably calculated to lead to the discovery of admissible evidence.

      BAE objects to this request to the extent that it seeks to invade the attorney-client and
work product privileges.

         14.       All documents, communications, correspondence, analyses, records, and data

concerning, referring to, or relating, in any way, to the negotiation and/or formation of the Prime

Contract, under which BAE contracted with the Army to design and construct the Project.




{2896204-1, 115568-00010-01}                    9
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 10 of 28 Pageid#: 1868




          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is overly broad, unduly
 burdensome, and not proportional to the needs of the case because it seeks “all” of the
 requested information.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          15.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the negotiation and/or formation of the

 Subcontract between BAE and Fluor.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

       BAE objects to this request on the grounds that it is overly broad, unduly
 burdensome, and not proportional to the needs of the case because it seeks “all” of the
 requested information.

          16.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the preparation and issuance of the Request for

 Proposals BAE issued to potential bidders, including Fluor, for the Subcontract and/or the Project.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.


 {2896204-1, 115568-00010-01}                     10
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 11 of 28 Pageid#: 1869




        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it is overly broad, unduly
 burdensome, and not proportional to the needs of the case because it seeks “all” of the
 requested information.

          17.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and any one or all of the potential

 offeror(s) on the Project concerning, referring to, or relating, in any way, to the Prime Contract,

 Lauren, the Lauren Design, BAE’s subcontract(s) with Lauren (and its negotiation, performance,

 or termination), or the work to be performed as set forth in the Request for Proposals issued to the

 potential offerors.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request because “potential offeror(s)” is vague and ambiguous.
 As written, the “potential offeror(s)” could refer to Lauren. To the extent if includes Lauren
 the request is vastly overbroad in time and scope and not reasonably tailored to the claims
 and defenses because it seeks discovery relating to a prior contractor, Lauren, that was
 involved in the Project before Fluor was ever involved in the Project. BAE objects to this
 request on the grounds that it is overly broad, unduly burdensome, and not proportional to
 the needs of the case because it seeks “all” of the requested information.

          18.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any BAE investigation, review, evaluation,

 assessment, analysis, and/or determination of the percent complete, maturity, condition, status, or

 progress of the Lauren Design as of the dates BAE terminated the Lauren subcontracts.

          OBJECTION:



 {2896204-1, 115568-00010-01}                    11
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 12 of 28 Pageid#: 1870




         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it, and nothing in the design/build contract
 contains or incorporates any 85% or 80-90% representation.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          19.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any BAE investigation, review, evaluation,

 assessment, analysis, and/or determination of the percent complete, maturity, condition, status, or

 progress of the Lauren Design at any time between April 2015 and December 2015.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it, and nothing in the design/build contract
 contains or incorporates any 85% or 80-90% representation.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          20.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to all Lauren reports, statements, descriptions, or




 {2896204-1, 115568-00010-01}                     12
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 13 of 28 Pageid#: 1871




 information provided to BAE and/or the Army regarding the percent complete, maturity, condition,

 status, or progress of the Lauren Design.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it, and nothing in the design/build contract
 contains or incorporates any 85% or 80-90% representation.

        BAE objects to this request on the grounds that it is facially overly broad, unduly
 burdensome, and not proportional to the needs of the case. This request, for example, is
 vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
 because it seeks discovery of years of information and communication relating to all aspects
 of performance by a prior contractor, Lauren, before Fluor was ever involved in the Project.

          21.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to all BAE reports, statements, descriptions, or

 information provided to the Army regarding the percent complete, maturity, condition, status, or

 progress of the Lauren Design.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it, and nothing in the design/build contract
 contains or incorporates any 85% or 80-90% representation.



 {2896204-1, 115568-00010-01}                    13
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 14 of 28 Pageid#: 1872




        BAE objects to this request on the grounds that it is facially overly broad, unduly
 burdensome, and not proportional to the needs of the case. This request, for example, is
 vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
 because it seeks discovery of years of information and communication relating to all aspects
 of performance by a prior contractor, Lauren, before Fluor was ever involved in the Project.

          22.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the percent complete, maturity, condition,

 status, or progress of the Process Design as of the date the Subcontract was executed.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it, and nothing in the design/build contract
 contains or incorporates any 85% or 80-90% representation.

          23.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s analysis, review, assessment, evaluation,

 and consideration of Fluor’s Bid Proposals.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

          24.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s analysis, review, assessment, evaluation,




 {2896204-1, 115568-00010-01}                     14
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 15 of 28 Pageid#: 1873




 and consideration of the portion of Fluor’s Bid Proposals concerning Fluor’s proposed design

 work.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

          25.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to Fluor’s Bid Proposals including, BAE’s analysis, review, assessment,

 evaluation, and consideration of the Bid Proposals.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

          26.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to the negotiation, formation, performance or termination of the

 subcontract(s) between BAE and Lauren.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.




 {2896204-1, 115568-00010-01}                    15
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 16 of 28 Pageid#: 1874




        BAE objects to this request on the grounds that it is facially overly broad, unduly
 burdensome, and not proportional to the needs of the case. This request, for example, is
 vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
 because it seeks discovery of years of information and communication relating to all aspects
 of performance by a prior contractor, Lauren, before Fluor was ever involved in the Project.

          27.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to the Lauren Design.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it.

        BAE objects to this request on the grounds that it is overly broad, unduly
 burdensome, and not proportional to the needs of the case to the extent it seeks discovery of
 information and communication relating to the Lauren Design before Fluor was ever
 involved with the Project.

          28.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and Lauren concerning, referring to,

 or relating, in any way, to the Lauren Design.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among


 {2896204-1, 115568-00010-01}                     16
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 17 of 28 Pageid#: 1875




 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it.

        BAE objects to this request on the grounds that it is overly broad, unduly
 burdensome, and not proportional to the needs of the case to the extent it seeks discovery of
 information and communication relating to the Lauren Design before Fluor was ever
 involved with the Project.

          29.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and Lauren concerning, referring to,

 or relating, in any way, to the performance and termination of Lauren’s design and construction

 subcontracts, including, without limitation, the termination of the Lauren design and construction

 subcontracts.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it.

        BAE objects to this request on the grounds that it is facially overly broad, unduly
 burdensome, and not proportional to the needs of the case. This request, for example, is
 vastly overbroad in time and scope and not reasonably tailored to the claims and defenses
 because it seeks discovery of years of information and communication relating to all aspects
 of performance by a prior contractor, Lauren, before Fluor was ever involved in the Project.

          30.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s representations to Fluor, prior to the

 execution of the Subcontract, that the Lauren Design was 85% complete.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

 {2896204-1, 115568-00010-01}                    17
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 18 of 28 Pageid#: 1876




        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request on the grounds that it seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence because, among
 other things, the design/build contract requires that Fluor validate, correct, and complete
 the Lauren Design once Fluor decided to use it, and nothing in the design/build contract
 contains or incorporates any 85% or 80-90% representation.

          31.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any updates, amendments, or corrections

 performed by BAE to the Lauren Design prior to the execution of the Subcontract.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent it is overbroad in time and scope and seeks
 information during Lauren’s performance years before Fluor was involved with the Project.

          32.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to any updates, amendments or corrections to the

 drawings, specifications, and technical documents included in Appendix G to the Subcontract that

 were performed by BAE prior to the execution of the Subcontract.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent it is overbroad in time and scope and seeks
 information during Lauren’s performance years before Fluor was involved with the Project.



 {2896204-1, 115568-00010-01}                    18
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 19 of 28 Pageid#: 1877




          33.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s understanding, impressions of, and/or

 interpretation of the Subcontract including, without limitation, the scope of Fluor’s and BAE’s

 design responsibilities.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          34.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to the negotiation, formation, selection, and

 revisions to the language of the Limitation of Damages clauses in the Subcontract, including all

 drafts, edited and/or revised versions of the Limitation of Damages clauses.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          35.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s analysis, review, assessment, evaluation,

 and consideration of Fluor’s Change Proposals (PCNs), including all revised versions of the

 Change Proposals (PCNs.)



 {2896204-1, 115568-00010-01}                     19
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 20 of 28 Pageid#: 1878




          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          36.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to the Change Proposals (PCNs) that Fluor submitted to BAE on the

 Project, including all revised versions of the Change Proposals (PCNs).

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          37.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to Prime Contract Modification 17, executed by the Army and BAE on or

 about July 23, 2018.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.


 {2896204-1, 115568-00010-01}                    20
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 21 of 28 Pageid#: 1879




       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          38.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to any Cure Notice or Show Cause Notice issued by the Army to BAE, to

 include the Show Cause Notice issued by the Army on February 8, 2018.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          39.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to the “letters of concern” issued by the Army as alleged in Paragraph 134

 of BAE’s Complaint.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          40.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to the Show Cause Notice issued by the Army on October 16, 2019.


 {2896204-1, 115568-00010-01}                    21
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 22 of 28 Pageid#: 1880




          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          41.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and the Army concerning, referring to,

 or relating, in any way, to any Cure Notice issued by BAE, to include the Cure Notice issued by

 BAE on November 2, 2016.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          42.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE, Fluor or the Army concerning,

 referring to, or relating, in any way, to Fluor’s November 11, 2016, response to the Cure Notice

 that BAE issued on November 2, 2016.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.


 {2896204-1, 115568-00010-01}                    22
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 23 of 28 Pageid#: 1881




       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          43.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE, Fluor or the Army concerning,

 referring to, or relating, in any way, to Fluor’s December 2, 2016 response to the Cure Notice that

 BAE issued on November 2, 2016.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          44.       All CPM schedules, proposed schedules, bar charts, two-week look-aheads, alleged

 recovery schedules and schedule updates prepared by BAE concerning, referring to, or relating, in

 any way, to the Project, including all documents, communications, correspondence, analyses,

 records, evaluations, analyses and data concerning the schedules.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

        BAE objects to this request to the extent it seeks documents relating to Lauren’s
 performance before Fluor was ever involved in the Project on the grounds that it is overly
 broad, unduly burdensome, not proportional to the needs of the case, irrelevant and not
 reasonably calculated to lead to the discovery of admissible evidence.




 {2896204-1, 115568-00010-01}                      23
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 24 of 28 Pageid#: 1882




          45.       All documents, communications, correspondence, evaluations, analyses, schedules,

 records, and data concerning, referring to, supporting, refuting, or relating, in any way, to BAE’s

 contention that all delay on the Project is the responsibility of Fluor.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          46.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, or relating, in any way, to BAE’s review, evaluation, and analysis of

 Fluor’s schedules, proposed schedules, alleged recovery schedules, and schedule updates

 including, without limitation, all documents, communications, correspondence, analyses, records,

 and data prepared by, exchanged by and between, or involving BAE, Fluor, and/or the Army.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          47.       All documents, communications, correspondence, analyses, records, and data

 concerning, referring to, supporting, refuting, addressing, or relating, in any way, to the allegations

 set forth in Paragraphs 93, 99, 100, 103, 110, 114, 134, 141, and 153(a) – (d) of the Complaint.

          OBJECTION:



 {2896204-1, 115568-00010-01}                      24
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 25 of 28 Pageid#: 1883




         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          48.       All documents, communications, correspondence, analyses, records, and data

 prepared by, exchanged by and between, or involving BAE and Bowas-Induplan Chemie

 Gesellschaft MBH (BOWAS) or any of its affiliates or subsidiaries concerning, referring to, or

 relating, in any way, to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with

 Lauren, the Subcontract, the Project or the Change Proposals (PCNs.)

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

         BAE objects to this request to the extent it seeks documents prior to or during
 Lauren’s performance and before Fluor was ever involved in the Project on the grounds that
 it is overly broad, unduly burdensome, not proportional to the needs of the case, irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence.

          49.       All minutes of meetings between BAE and Fluor concerning, referring to, or

 relating, in any way, to the Prime Contract, Lauren, the Lauren Design, BAE’s subcontract(s) with

 Lauren, the Subcontract, the Project or the Change Proposals (PCNs.)

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.


 {2896204-1, 115568-00010-01}                    25
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 26 of 28 Pageid#: 1884




        BAE objects to this request to the extent it seeks information equally available to
 Fluor and/or already in Fluor’s possession, custody or control.

       BAE objects to this request to the extent that it seeks to invade the attorney-client and
 work product privileges.

          50.       All minutes of meetings prepared by, exchanged by and between, or involving BAE

 and the Army concerning, referring to, or relating, in any way, to the Prime Contract, Lauren, the

 Lauren Design, the Project, the Subcontract or the Change Proposals (PCNs.)

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

         BAE objects to this request to the extent it seeks documents prior to or during
 Lauren’s performance and before Fluor was ever involved in the Project on the grounds that
 it is overly broad, unduly burdensome, not proportional to the needs of the case, irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence.

          51.       All photographs and videos of or concerning, referring to, or relating, in any way,

 to the Project.

          OBJECTION:

         BAE objects to all discovery in this action until the Motions to Dismiss, Motion to
 Strike, and Motions to Stay and to Bifurcate are ruled upon by the Court.

        BAE objects to this request to the extent it seeks to exceed the terms and scope of the
 parties’ Agreed Order Regarding Discovery (Dkt. 59) and any modifications thereto
 pursuant to Section 7 therein.

       BAE objects to this request to the extent that it is overly broad, unduly burdensome,
 and not proportional to the needs of the case and/or seeks information that is irrelevant
 and not reasonably calculated to lead to the discovery of admissible evidence.




 {2896204-1, 115568-00010-01}                       26
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 27 of 28 Pageid#: 1885




 Dated: November 15, 2021                 Respectfully submitted,

                                          BAE SYSTEMS ORDNANCE SYSTEMS, INC.

                                          By: /s/ Todd M. Conley
                                                Counsel for BAE Systems Ordnance
                                                Systems, Inc.


  Todd M. Conley (VSB No. 89839)
  Jeffrey J. Golimowski (VSB No. 93525)
  WOMBLE BOND DICKINSON (US) LLP
  8350 Broad Street, Suite 1500
  Tysons, VA 22102
  Telephone: (703) 394-2245
  todd.conley@wbd-us.com
  jeff.golimowski@wbd-us.com

  Joshua R. Treece (VSB No. 79149)
  jtreece@woodsrogers.com
  Justin E. Simmons (VSB No. 77319)
  jsimmons@woodsrogers.com
  WOODS ROGERS PLC
  10 South Jefferson Street, Suite 1800
  Roanoke, Virginia 24011
  Telephone: (540) 983-7600
  Facsimile: (540) 983-7711

  Karen M. Stemland (VSB No. 47167)
  WOODS ROGERS PLC
  123 East Main Street, 5th Floor
  Charlottesville, Virginia 22902
  Telephone: (434) 220-6826
  Facsimile: 434-566-0473
  kstemland@woodsrogers.com




 {2896204-1, 115568-00010-01}               27
Case 7:20-cv-00587-RSB Document 65-6 Filed 12/03/21 Page 28 of 28 Pageid#: 1886




                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 15, 2021, the foregoing was emailed to counsel for

 record for Fluor.


                                                      /s/ Todd M. Conley




 {2896204-1, 115568-00010-01}                    28
